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        EXHIBIT G
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                                                                                                   Evangeline Roberts
                                                                                                         PO Box 1234
                                                                                               Cedar Ridge, CA 95924
                                                                                           Telephone: (530) 273-7774
                                                                               E-mail: evangelineroberts65@gmail.com

                                                                                                     Date: July 17, 2021
The Honorable Gonzalo P. Curiel
United States District Judge
Southern District of California

Defendant's Name: Michael James Stevens                 Case Number: _______________________

Dear Judge Curiel:

My name is L. Evangeline Roberts and I'm writing this letter on behalf of my nephew Michael James Stevens. I have
know Michael all of his life. I am retired from my profession as a Legal Secretary, with the last 15 years being at the
Nevada County Probation Department in Nevada City, California. Because I’ve worked in many legal offices, I’m
aware that the chances of someone beating addiction is small. But I have seen it happen and know that long shots can
happen.

Good Character:
Michael has been very helpful in helping me with my landscaping, building a perimeter fence, and climbing on rooftops
to clean debris from gutters for grandma and me. Michael is an avid reader of all publications related to nature, and
regulary worked out to stay in good health.

Medical Condition:
Several times he has fallen back into drug use especially after two serious injuries. The first time was when he was hurt
on the job and his thumb and hand severely cut. Second time was when he was burned over most of his body, enduring
many surgeries, skin grafts, and had a finger amputated. (He still has open wounds that haave not healed from that
accident five years ago and needs surgery to repair. Also needs another finger removed.) Unfortunately his permanent
injuries will prevent him from working in his previous occupations.

Substance Abuse
Michael's derailment began in his teens by getting addicted to drugs. He has continued to battle getting clean and sober,
but has stayed sober for long periods of time. I will say it is very discouraging to watch him relapse. When he was
injured with the severe cut, the standard course of treatment was to repair and also prescribe pain medication, even
when he asked them NOT to give him a pain injection at all. It has been years of recovery and relapse. When Michael
is clean, he apologizes and seems remorseful. But when temptations and relapse occurs, he comes around the family
infrequently.

Family Involvement
He helped take care of his grandfather until his death. When his grandfather died, Michael called and came picked me
up and took me to my dad’s bedside. He knew that I was in no shape to drive a car. He loves his family. When clean,
he has participated in family celebrations, fishing trips, camping trips and holiday times. Michael has been both mother
and father to Joseph for many years. I know they truly miss and need each other.

As part of his sentencing, I hope there is consideration for pain management behavioral counseling management---how
to live WITH the pain. Also, I respectfully ask that you consider a drug rehabiliation program for Michael. Thank you
for your consideration of my letter.

Respectfully,

L. Evangeline Roberts
L. Evangeline Roberts
Photo attached
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